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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                               Case No. 11-20564
 v.
                                               Hon. John Corbett O’Meara
 D-1 CLARENCE WILLIAMSON,

      Defendant.
 ________________________________/

                      ORDER DENYING DEFENDANT’S
                         MOTION TO SUPPRESS

       Before the court is Defendant Clarence Williamson’s motion to suppress

 evidence, filed November 10, 2014, which has been fully briefed. For the reasons

 stated below, Defendant’s motion is denied.

                             BACKGROUND FACTS

       On January 21, 2005, Williamson was driving a van on Interstate 40 in

 Oklahoma. At about 3 a.m., Trooper Tracy Brown observed the van left of the lane

 line for approximately one quarter mile. Pulling on to the highway behind the van,

 Trooper Brown “observed the vehicle to travel from the number two lane from the

 center to the number one lane without signaling, the vehicle then traveled back

 across the number two lane onto the shoulder. The vehicle traveled across the lane

 line a total of three times and onto the shoulder twice, all movements were done
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 without prior intention to change lanes.” Pl.’s Ex. 1 (Oklahoma Highway Patrol

 Case Record).

       Trooper Brown initiated a traffic stop of the van. Williamson told the

 officer the “the reason he was all over the road was that he was making sure he was

 on the right one.” Id. Trooper Brown asked Williamson to step out of the van and

 to sit in the passenger seat of the patrol car. As the officer filled out a warning for

 the traffic violation, he asked Williamson a few questions regarding the purpose of

 his trip and his passengers. Williamson stated that they were going to Las Vegas to

 visit family. During this conversation, Trooper Brown noticed that Williamson’s

 “hands were shaking, his legs were shaking, and that there was some sweat that

 was building on his upper lip and running down the side of his head.” Pl.’s Ex. 1.

       Trooper Brown then approached the front seat passenger, Brenda Riley

 (Williamson’s mother), to ask if she could locate the proof of insurance form for

 the van. As Riley was looking for the insurance form, Trooper Brown asked her

 whether they were going to visit family or friends in Las Vegas. Riley said no.

 Trooper Brown noticed that Riley’s hands were shaking and that she seemed

 nervous. The officer also observed that the back seat passenger looked at him, then

 “dropped his head and pretended to be sleeping.” Id.

       Trooper Brown returned to the patrol car and gave Williamson the written


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 warning to sign. Trooper Brown told him to have a safe trip, and Williamson

 began to exit the vehicle. The officer then asked if Williamson had a minute to

 answer some additional questions, to which Williamson agreed. Trooper Brown

 asked if the group was conducting illegal activities, such as drinking and driving or

 transporting firearms, illegal drugs, or large amounts of U.S. currency. Williamson

 said no. Trooper Brown then asked if Williamson would consent to a search of the

 van. As evidenced on the police video, Williamson agreed to the search. See Pl.’s

 Ex. 2 (video of traffic stop).

       Trooper Brown also asked the owner of the van, who was another passenger,

 to consent to a search. The owner, Christel Mervin, agreed to the search. See id.

 Once Trooper Brown entered the van, he noticed that the interior had been recently

 remodeled. When he pushed on the back interior panel of the van, he saw a large

 amount of U.S. currency. Subsequently, a full search of the van revealed

 approximately $1.5 million in U.S. currency and two loaded firearms.

                                  LAW AND ANALYSIS

       Defendant argues that there was no probable cause for the traffic stop and

 that the evidence should be suppressed. With respect to the traffic stop, Trooper

 Brown observed Williamson driving erratically at 3 a.m. When told the reason for

 the traffic stop, Williamson did not deny crossing the lane lines three times and the


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 shoulder line twice. See Pl.’s Ex. 2 (video). These facts establish probable cause

 for the traffic stop. See United States v. Simpson, 520 F.3d 531, 538-41 (6th Cir.

 2008) (police may conduct traffic stop if there is reasonable suspicion of an

 ongoing violation or probable cause to believe that a traffic violation has

 occurred).1 Although Defendant wishes to question Trooper Brown regarding his

 “racial motivation” for the stop, such evidence is not relevant to whether the stop

 was constitutional under the Fourth Amendment. Whren v. United States, 517

 U.S. 806, 812-13 (1996) (constitutional reasonableness of traffic stop depends

 upon existence of probable cause, not on the subjective motivation of the police

 officer). See also United States v. Everett, 601 F.3d 484, 488 (6th Cir. 2010)

 (officer motivation irrelevant and traffic stop not pretextual when defendant

 admitted he was speeding).

        The Fourth Amendment also does not prohibit Trooper Brown from

 questioning Defendant about matters extraneous to the traffic stop, as long as the

 responses are voluntary and the detention is not measurably extended. Arizona v.

 Johnson, 555 U.S. 323 (2009). Further, given the circumstances, including the


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          Although there is “some confusion in this Circuit as to whether the probable
 cause or reasonable suspicion standard applies in traffic stops,” the court need not reach
 this issue, because the facts here clearly meet the higher probable cause standard. See
 United States v. Jeffries, 457 Fed. Appx. 471 at *5 (6th Cir. Jan. 24, 2012).


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 nervousness of the Williamson and Riley, the passengers pretending to be sleeping,

 and the contradictory information regarding the purpose of the trip, Trooper Brown

 was reasonable in detaining and questioning Williamson further. See United States

 v. Smith, 601 F.3d 530, 542 (6th Cir. 2010) (“Because the initial stop was

 supported by probable cause and because each extension of the stop was supported

 by reasonable suspicion of additional criminal activity, the evidence obtained from

 the stop was admissible.”).

       Moreover, the video clearly shows that both Williamson and the owner of

 the van consented to the search. Although Defendant argues that Christel Mervin’s

 consent was “inebriated,” the video does not suggest that Mervin was intoxicated

 and there is no evidence she had taken anything other than Nyquil cold medicine.

                                      ORDER

       For all of these reasons, IT IS HEREBY ORDERED that Defendant’s

 motion to suppress is DENIED.

                                        s/John Corbett O’Meara
                                        United States District Judge
 Date: November 24, 2014

       I hereby certify that a copy of the foregoing document was served upon
 counsel of record on this date, November 24, 2014, using the ECF system.


                                        s/William Barkholz
                                        Case Manager

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